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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ERIC X. RAMBERT,                                  :
                                                  :
                              Petitioner,         :           CIVIL ACTION NO. 21-2823
                                                  :
       v.                                         :
                                                  :
LAWRENCE KRASNER, D.A.                            :
PHILADELPHIA,                                     :
                                                  :
                              Respondent.         :

                                             ORDER

       AND NOW, this 29th day of September, 2021, after considering the petition for writ of

habeas corpus under 28 U.S.C. § 2254 (Doc. No. 2), application for leave to proceed in forma

pauperis (Doc. No. 1), and prisoner trust fund account statement (Doc. No. 3), filed by the pro se

petitioner, Eric X. Rambert; and for the reasons set forth in the separately filed memorandum

opinion, it is hereby ORDERED as follows:

       1.      The application for leave to proceed in forma pauperis (Doc. No. 1) is DENIED;

       2.      The petition for a writ of habeas corpus under 28 U.S.C. § 2254 (Doc. No. 2) is

DISMISSED WITHOUT PREJUDICE;

       3.      There is no cause to issue a certificate of appealability; and

       4.      The clerk of court shall MARK this matter as CLOSED.


                                                      BY THE COURT:



                                                      /s/ Edward G. Smith
                                                      EDWARD G. SMITH, J.
